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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                                CASE NO. 23-80101-CR-CANNON(s)

   UNITED STATES OF AMERICA,

          Plaintiff,

   v.

   DONALD J. TRUMP,
   WALTINE NAUTA, and
   CARLOS DE OLIVEIRA,

         Defendants.
   ________________________________/

                       GOVERNMENT’S SURREPLY IN OPPOSITION TO
                       DEFENDANTS’ MOTION TO COMPEL DISCOVERY

          The Government respectfully submits this surreply to address arguments and evidence first

   presented in the reply brief (ECF No. 300) defendants filed in support of their motion to compel

   discovery (ECF No. 262). As set forth below and in the Government’s forthcoming opposition to

   defendant Donald J. Trump’s motion to dismiss the indictment based on selective and vindictive

   prosecution, the defendants’ request for discovery should be denied.

                                            BACKGROUND

          On January 16, 2024, the defendants filed (ECF No. 262) a motion to compel discovery

   under Rule 16 and Brady v. Maryland, 373 U.S. 83 (1963), seeking an array of materials that, they

   speculated, could help substantiate their baseless theories of political animus and bias. In response,

   the Government explained (ECF No. 277 at 21-23, 31-38) that a request for this sort of discovery

   falls outside the scope of Rule 16 and Brady and is instead governed by the rigorous requirements

   set forth in United States v. Armstrong, 517 U.S. 456, 468 (1996), and cases applying Armstrong,
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   including United States v. Smith, 231 F.3d 800, 810 (11th Cir. 2000). The defendants did not cite

   Armstrong or Smith in their motion to compel, let alone attempt to satisfy the requisite standard.

          In their reply (ECF No. 300), the defendants, for the first time, cited Armstrong and

   attempted to make the showing required by Armstrong/Smith. The Government objected on

   procedural grounds, arguing that it was improper for the defendants to use a reply brief to raise

   these new arguments and evidence, and asked the Court either to defer consideration of whether

   the defendants could make the Armstrong/Smith showing until pretrial motions were filed (since

   the defendants had already indicated that they intended to file a motion for dismissal based on

   selective and vindictive prosecution at that time), or, alternatively, to grant the Government leave

   to file a surreply. ECF No. 305. The Court granted the motion in part and authorized the

   Government to file a surreply on or before February 26, 2024. ECF No. 319.

          Since the Government asked to file a surreply, Trump, as forecasted, has filed a motion

   seeking dismissal or discovery on the basis of selective and vindictive prosecution, raising the

   same arguments that the defendants made in the reply to their motion to compel, as well as some

   additional arguments. See ECF No. 328 at 1-2 (listing motions).1 Thus, the arguments that were

   improperly raised in the defendants’ reply brief have now properly been raised in Trump’s pretrial

   motion under Federal Rule of Criminal Procedure 12. The Government will use its forthcoming

   brief in opposition to Trump’s dismissal motion to respond to those arguments in depth and show

   why they fail. The Government nonetheless briefly addresses the standard for discovery on claims

   of selective and vindictive prosecution in the event that the Court decides to address the discovery

   issues raised for the first time in the defendants’ reply separately from Trump’s motion to dismiss.




   1
          The motion itself has not yet been publicly docketed, pending additional conferral and, if
   necessary, litigation regarding redactions. See ECF No. 320.
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                                             DISCUSSION

   I.     Applicable Law

          Federal prosecutors are afforded “broad discretion to enforce the Nation’s criminal laws,”

   and a “presumption of regularity supports their prosecutorial decisions.”          United States v.

   Armstrong, 517 U.S. 456, 464 (1996) (quotation marks omitted). The judiciary defers “to the

   decisions of” federal prosecutors “in part” because of the “relative competence of prosecutors and

   courts.” Id. at 465. “‘Such factors as the strength of the case, the prosecution’s general deterrence

   value, the Government’s enforcement priorities, and the case’s relationship to the Government’s

   overall enforcement plan are not readily susceptible to the kind of analysis the courts are competent

   to undertake.’” Id. (quoting Wayte v. United States, 470 U.S. 598, 607 (1985)). This judicial

   deference “also stems from a concern not to unnecessarily impair the performance of a core

   executive constitutional function.” Id. “‘Examining the basis of a prosecution delays the criminal

   proceeding, threatens to chill law enforcement by subjecting the prosecutor’s motives and

   decisionmaking to outside inquiry, and may undermine prosecutorial effectiveness by revealing

   the Government’s enforcement policy.’” Id. (quoting Wayte, 470 U.S. at 607).

          Prosecutorial discretion is nonetheless subject to certain “constitutional constraints.” Id.

   at 464 (quotation marks omitted).       One such constraint, “imposed by the equal protection

   component of the Due Process Clause of the Fifth Amendment,” is the prohibition against selective

   prosecution: “the decision whether to prosecute may not be based on an unjustifiable standard such

   as race, religion, or other arbitrary classification.” Id. (quotation marks omitted). Another

   constraint, grounded in the Due Process Clause, is the prohibition against vindictive prosecution,

   which prohibits a “charging decision” or other prosecutorial action that is “motivated by a desire




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   to punish [the defendant] for doing something that the law plainly allowed him to do.” United

   States v. Goodwin, 457 U.S. 368, 384 (1982).

          In order for a defendant to dispel the presumption that federal prosecutors discharged their

   official duties properly, the defendant must establish each of the constituent elements of a

   selective-prosecution or a vindictive-prosecution claim by “clear and convincing evidence.”

   United States v. Smith, 231 F.3d 800, 808 (11th Cir. 2000) (discussing selective prosecution); see

   United States v. Simbaqueba Bonilla, No. 07-cr-20897, 2010 WL 11627259, at *4 (S.D. Fla. May

   20, 2010) (applying same standard to vindictive-prosecution claim and citing United States v.

   Jarrett, 447 F.3d 520, 525 (7th Cir. 2006), and United States v. Sanders, 211 F.3d 711, 716 (2d Cir.

   2000)). To sustain a claim of selective prosecution, a defendant “must demonstrate [1] that the

   federal prosecutorial policy had a discriminatory effect and [2] that it was motivated by a

   discriminatory purpose.” Smith, 231 F.3d at 808 (quotation marks omitted). The first prong

   requires a showing that “similarly situated individuals were not prosecuted.” Id. at 809. To make

   out a claim of vindictive prosecution, a defendant must, as relevant here, demonstrate “that (1) the

   prosecutor acted with genuine animus toward the defendant and (2) the defendant would not have

   been prosecuted but for that animus.” United States v. Wilson, 262 F.3d 305, 314 (4th Cir. 2001);

   see United States v. Barner, 441 F.3d 1310, 1322 (11th Cir. 2006) (citing Wilson and stating that

   the “elements of prosecutorial vindictiveness are animus plus causation”). 2 Because a claim of

   selective or vindictive prosecution “asks a court to exercise judicial power over a special province



   2
           A defendant may sometimes establish that the circumstances of the case pose a realistic
   likelihood of vindictiveness and therefore warrant a prophylactic presumption of vindictiveness in
   all cases of that type, as occurs, for example, when a prosecutor responds to a defendant’s
   successful appeal by increasing the severity of the charges against him. See Goodwin, 457 U.S. at
   380-81, 384; Alabama v. Smith, 490 U.S. 794, 799-800 (1989); United States v. Kendrick, 682 F.3d
   974, 982 (11th Cir. 2012). Trump does not—and cannot—contend that a presumption of
   vindictiveness could or should apply here and instead attempts to show actual vindictiveness.
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   of the Executive,” Armstrong, 517 U.S. at 464 (quotation marks omitted), the standard a defendant

   must satisfy to establish such a claim is “demanding,” id. at 463, and “rigorous,” id. at 468, as it

   requires a defendant to substantiate his claim with “clear evidence,” id. at 465; see United States

   v. Cannon, 987 F.3d 924, 937 (11th Cir. 2021); see also Jarrett, 447 F.3d at 525 (discussing

   vindictive prosecution); United States v. Meyer, 810 F.2d 1242, 1245 (D.C. Cir. 1987) (explaining

   that a showing of actual vindictiveness is “exceedingly difficult to make”).

           A defendant must also meet a “correspondingly rigorous standard for discovery in aid of

   such a claim.” Armstrong, 517 U.S. at 468; see Sanders, 211 F.3d at 717 (discussing vindictive

   prosecution). To do so, the defendant must make “a credible showing” to support his claim, which

   requires providing “some evidence tending to show the existence of the essential elements of the

   defense.” Armstrong, 517 U.S. at 470 (quotation marks omitted). This standard “is only slightly

   lower than for proving the claim itself.” United States v. Hare, 820 F.3d 93, 99 (4th Cir. 2016)

   (quotation marks omitted); see United States v. Lewis, 517 F.3d 20, 25 (1st Cir. 2008) (the standard

   “is somewhat below ‘clear evidence,’ but it is nonetheless fairly high”); United States v. Rasco,

   No. 08-cr-100, 2010 WL 2160836, at *5 (S.D. Ga. May 27, 2010) (the standard for discovery is

   “quite rigorous”) (quotation marks omitted). Given the substantial “costs” of discovery in this

   context, Armstrong, 517 U.S. at 468, “the showing necessary to obtain discovery should itself be

   a significant barrier to the litigation of insubstantial claims,” id. at 464. Courts thus remain vigilant

   in ensuring that a defendant has made a sufficient showing. See United States v. Bass, 536 U.S.

   862 (2002) (per curiam) (reversing order granting discovery on selective prosecution claim);

   United States v. Thorpe, 471 F.3d 652, 666 (6th Cir. 2006) (same); United States v. Hastings, 126

   F.3d 310, 314-16 (4th Cir. 1997) (same); United States v. Turner, 104 F.3d 1180, 1185-86 (9th Cir.

   1997) (same); In re United States, 397 F.3d 274, 284 (5th Cir. 2005) (same via mandamus).



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          In the decades since Armstrong, the Eleventh Circuit has never found such a showing to

   have been made. 3 See also United States v. Washington, 869 F.3d 193, 215 (3d Cir. 2017)

   (“Armstrong/Bass has proven to be a demanding gatekeeper . . . and neither the Supreme Court

   nor this Court has ever found sufficient evidence to permit discovery of a prosecutor’s decision-

   making policies and practices.” (quotation marks omitted)). And the one pre-Armstrong case in

   which the Eleventh Circuit made such a finding involved direct evidence of racist statements,

   combined with corroborating statistical evidence. See United States v. Gordon, 817 F.2d 1538,

   1540 (11th Cir. 1987) (per curiam), vacated in part by 836 F.2d 1312 (11th Cir. 1988) (finding that

   direct evidence of racial bias—in which a spokesperson “allegedly explained to a college student

   that the investigations were part of a ‘new policy . . . brought on by the “arrogance on the part of

   blacks” in these counties,’”—“would not be enough” standing alone, but sufficed when combined

   with “other evidence suggesting a pattern of” discriminatory prosecutions).         Circumstantial

   evidence is virtually never enough to carry the defendant’s burden. See United States v. Brown,

   862 F. Supp. 2d 1276, 1288 (N.D. Ala. 2012) (“The court has found no Eleventh Circuit case in

   which a defendant has ultimately shown improper motive through circumstantial evidence”).

   II.    The Defendants Cannot Satisfy the Requirements for Discovery on a Claim of Either
          Selective or Vindictive Prosecution.

          As will be discussed in more depth in the Government’s forthcoming response to Trump’s

   motion to dismiss, the defendants have not, and cannot, satisfy the requirements for discovery on

   a claim of either selective or vindictive prosecution.


   3
           Smith was one of the rare cases that came to the Eleventh Circuit following the grant of
   discovery and an evidentiary hearing on a selective prosecution claim. Smith, 231 F.3d at 808 n.4.
   The Eleventh Circuit considered the evidence “without implying” that “the district court properly
   permitted the extensive inquiry it did based upon the showing the defendants had made.” Id.
   Given that the defendants “failed to carry their burden of establishing the discriminatory effect or
   selectivity prong,” id. at 813, it follows the district court erred by granting discovery.

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          First, the defendants’ attempt to obtain discovery based on selective prosecution fails at the

   initial step, which requires them to identify someone who “was similarly situated with the

   defendant[].” Smith, 231 F.3d at 810. The Eleventh Circuit has “define[d] a ‘similarly situated’

   person for selective prosecution purposes as one who engaged in the same type of conduct, which

   means that the comparator committed the same basic crime in substantially the same manner as

   the defendant—so that any prosecution of that individual would have the same deterrence value

   and would be related in the same way to the Government’s enforcement priorities and enforcement

   plan—and against whom the evidence was as strong or stronger than that against the defendant.”

   Id. 4 In Smith, for example, the defendants had to—but did not—show that “there [were] other

   individuals who voted twice or more in a federal election by applying for and casting fraudulent

   absentee ballots, and who forged the voter’s signature or knowingly gave false information on a

   ballot affidavit or application, and that the voter whose signature those individuals signed denied

   voting, and against whom the government had evidence that was as strong as the evidence it had

   against” the defendants, because that was “the case the government built against” the defendants.

   Id. at 811 (emphasis in original). The comparator must “be nearly identical” to the defendant.

   United States v. Brantley, 803 F.3d 1265, 1272 (11th Cir. 2015).

          None of the purported comparators the defendants identify is similarly situated. There have

   been many government officials who have possessed classified documents after the ends of their

   terms in office—often inadvertently, sometimes negligently, and very occasionally willfully.

   There have also been a very small number of cases in which former government officials who have



   4
           Although the defendants cite (ECF No. 300 at 7) the first part of this test (“the same basic
   crime in substantially the same manner”), they entirely omit the test’s other requirements,
   including that “the evidence [against the comparator] was as strong or stronger than that against
   the defendant.” Smith, 231 F.3d at 810.

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   been found in possession of classified documents have briefly resisted the government’s lawful

   efforts to recover them. But there has never been a case in American history in which a former

   official has engaged in conduct remotely similar to Trump’s. He intentionally took possession of

   a vast trove of some of the nation’s most sensitive documents—documents so sensitive that they

   were presented to the President—and stored them in unsecured locations at his heavily trafficked

   social club. When the National Archives and Records Administration (“NARA”) initially sought

   their return (before learning that they contained classified national defense information), Trump

   delayed, obfuscated, and dissembled. Faced with the possibility of legal action, he ostensibly

   agreed to comply with NARA’s requests but in fact engaged in additional deception, returning only

   a fraction of the documents in his possession while claiming that his production was complete.

   Then, when presented with a grand jury subpoena demanding the return of the remaining

   documents bearing classification markings, Trump attempted to enlist his own attorney in the

   corrupt endeavor, suggesting that he falsely tell the FBI and grand jury that Trump did not have

   any documents, and suggesting that his attorney hide or destroy documents rather than produce

   them to the government. Failing in his effort to corrupt the attorney, Trump enlisted his trusted

   body man, codefendant Waltine Nauta, in a scheme to deceive the attorney by moving boxes to

   conceal his (Trump’s) continued possession of classified documents. As a result, Trump, through

   his attorney, again returned only a portion of the classified documents in his possession while

   falsely claiming that his production was complete. The obstructive conduct even persisted from

   there. In June 2022, knowing that he had arranged for Nauta to move boxes to conceal them from

   Trump’s attorney, and knowing that the government had subpoenaed the security video footage

   that would reveal that surreptitious box movement, Trump, now joined by not only Nauta but also




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   codefendant Carlos De Oliveira, attempted to have the information-technology manager at Mar-a-

   Lago delete the video footage that would show the movement of boxes.

          The defendants have not identified anyone who has engaged in a remotely similar suite of

   willful and deceitful criminal conduct and not been prosecuted. Nor could they. Indeed, the

   comparators on which they rely are readily distinguishable. For example, their primary comparator

   is Joseph R. Biden, whose conduct is described in the recently issued Report of the Special Counsel

   on the Investigation Into Unauthorized Removal, Retention, and Disclosure of Classified

   Documents Discovered at Locations Including the Penn Biden Center and the Delaware Private

   Residence of President Joseph R. Biden, Jr., by Special Counsel Robert K. Hur (“Hur Report”).

   But as the Hur Report itself recognizes, “several material distinctions between Mr. Trump’s case

   and Mr. Biden’s are clear.” Hur Report at 11; id. at 250. Most notably, Trump, unlike Biden, is

   alleged to have engaged in extensive and repeated efforts to obstruct justice and thwart the return

   of documents bearing classification markings. And the evidence concerning the two men’s

   intent—whether they knowingly possessed and willfully retained such documents—is also starkly

   different, as reflected in the Hur Report’s conclusion that “the evidence falls short of establishing

   Mr. Biden’s willful retention of the classified Afghanistan documents beyond a reasonable doubt.”

   Hur Report at 204 (capitalization altered); see id. at 250 (“Unlike the evidence involving Mr.

   Biden, the allegations set forth in the indictment of Mr. Trump, if proven, would clearly establish

   not only Mr. Trump’s willfulness but also serious aggravating facts.”). The defendants’ request for

   discovery on a selective prosecution theory can be denied on this basis alone.

          Separately, the evidence that defendants have presented falls woefully short of establishing

   either discriminatory intent (for purposes of a selective prosecution claim) or animus and causation

   (for purposes of a vindictive prosecution claim). They contend that the incumbent president has



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   secretly directed this prosecution—using the Special Counsel as a “puppet” or “stalking horse,”

   ECF No. 300 at 5, 10)—in order to retaliate against Trump for exercising his right to criticize him

   and run against him. But the sources on which they rely, even if taken at face value, undercut

   rather than support this conspiracy theory, as they repeatedly emphasize that the prosecutorial

   decisions made by the Department of Justice generally, and the Special Counsel specifically, have

   been made on the basis of the facts and the law, not political considerations. The defendants offer

   no evidence to the contrary, because there is no such evidence.

          Finally, the defendants’ baseless theory that the prosecutorial decisions in this case have

   been made by the incumbent president, communicating his direction via the news media, is

   inconsistent with their requests for discovery. A defendant must show that the prosecutorial

   decision was in fact “motivated by a discriminatory purpose” on behalf of “the decisionmaker.”

   United States v. Jordan, 635 F.3d 1181, 1188 (11th Cir. 2011) (quotation marks omitted). A

   defendant cannot establish a claim of selective or vindictive prosecution by relying on allegations

   of animus on the part of investigating agents or others who did not “actually ma[k]e the decision

   to prosecute.” Hastings, 126 F.3d at 314; see United States v. Spears, 159 F.3d 1081, 1087 (7th

   Cir. 1998) (“[A]ctions of an investigating agency will not be imputed to a federal prosecutor.”).

   Discovery regarding purported bias on behalf of a referring or investigating agency, or a member

   of the intelligence community, is irrelevant to a claim of selective or vindictive prosecution, and

   this disconnect underscores that the defendants are engaged in a fishing expedition.

                                           CONCLUSION

          For the reasons set forth above, as well as in the Government’s forthcoming response to

   Trump’s motion to dismiss for selective and vindictive prosecution, the defendants’ requests for

   discovery on this topic should be denied.



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                                      Respectfully submitted,

                                      JACK SMITH
                                      Special Counsel
                                      N.Y. Bar No. 2678084

                                By:   /s/ David V. Harbach, II
                                      David V. Harbach, II
                                      Assistant Special Counsel
                                      Special Bar ID #A5503068
                                      950 Pennsylvania Avenue, N.W.
                                      Washington, D.C. 20530

                                      Jay I. Bratt
                                      Counselor to the Special Counsel
                                      Special Bar ID #A5502946

   February 26, 2024




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                                      CERTIFICATE OF SERVICE

          I hereby certify that on February 26, 2024, I electronically filed the foregoing document

   with the Clerk of the Court using CM/ECF, which in turn serves counsel of record via transmission

   of Notices of Electronic Filing.

                                               /s/ David V. Harbach, II
                                               David V. Harbach, II




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